Case 2:17-cv-02575-DMG-PLA Document 14 Filed 06/22/17 Page 1 of 1 Page ID #:45



  1 LOUIS P. DELL, ESQ. (SBN 164830)
    LAW OFFICE OF LOUIS P. DELL
  2 715 South Victory Blvd.
    Burbank, CA 91502
  3 (818) 478-2822 (Office)
    (818) 436-5966 (Fax)
  4 e-mail: ldell@louisdell.com

  5
      Attorney for Plaintiff,
  6   CHRISTOPHER PHILLIPS
  7

  8

  9

 10                IN THE UNITED STATES DISTRICT COURT FOR THE
 11                          CENTRAL DISTRICT OF CALIFORNIA
 12    CHRISTOPHER PHILLIPS,                )   CASE NO.
 13                                         )   2:17-cv-025750-DMG-PLA
                          Plaintiffs,       )
 14                                         )
             vs.                            )
 15                                         )         NOTICE OF SETTLEMENT
       MCCARTHY, BURGESS &                  )
 16    WOLFF, INC,                          )
       and DOES 1 to 10, inclusive,         )
 17                                         )
                      Defendants.           )
 18    ___________________________          )

 19
         TO THE COURT, ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 20
         PLEASE TAKE NOTICE that Plaintiff Christopher Phillips and Defendant
 21
      McCarthy, Burgess & Wolff, Inc. have agreed to settle all claims in this matter. A
 22
      dismissal of the entire action will be filed once the settlement process is completed
 23
      which is expected to take 30-days.
 24
      Dated: June 22, 2017                   LAW OFFICE OF LOUIS P. DELL
 25

 26                                          /s/ Louis P. Dell
                                             Louis P. Dell, Esq.
 27                                          Attorney for Plaintiff,
                                             CHRISTOPHER PHILLIPS
 28
                                                -1-
                                        Notice of Settlement
